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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al.,

                    Plaintiffs,

 v.                                       No. 20-cv-2340(EGS)

 JOSEPH R. BIDEN, JR., in his
 official capacity as President
 of the United States, et al.,

                    Defendants.


                                  ORDER

      For the reasons stated in the forthcoming Memorandum

Opinion, it is hereby

      ORDERED that Plaintiffs’ Motion for Summary Judgment, ECF

No. 58, is GRANTED IN PART and DENIED IN PART; and it is further

      ORDERED that Defendants’ Cross-Motion for Summary Judgment,

ECF No. 66, is GRANTED IN PART and DENIED IN PART.

      SO ORDERED.
Signed:    Emmet G. Sullivan
           United States District Judge
           September 30, 2022
